       Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-221462
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                                       MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION
                                                                   SECTION “N” (5)

 THIS DOCUMENT RELATES TO:
 ALL CASES

                               PRETRIAL ORDER NO. 72
        [Dismissal of Sanofi S.A. and Aventis Pharma S.A. (“French Defendants”)]

       On November 3, 2017, Plaintiffs in this MDL, through the Plaintiffs’ Steering Committee,

and Defendants, Sanofi S.A., Aventis Pharma S.A., Sanofi-Aventis U.S. LLC, and Sanofi US

Services Inc., through their counsel, filed a “Stipulation of Terms Related to Defendants, Sanofi

and Aventis Pharma S.A.” (Rec. Doc. 1072). Thus, pursuant to the parties’ stipulation, IT IS

ORDERED that Sanofi S.A. and Aventis Pharma S.A. (“French Defendants”) are DISMISSED

WITHOUT PREJUDICE.

       IT IS FURTHER ORDERED that in order to facilitate the efficient termination of the

French Defendants in the individual member cases within the Court’s CM/ECF system, liaison

counsel shall provide a list of cases in which the French Defendants have been named to the Court

on or before Monday, January 22, 2018.

       New Orleans, Louisiana, this 4th day of January 2018.




                                            ____________________________________
                                            KURT D. ENGELHARDT
                                            UNITED STATES DISTRICT JUDGE




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